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                                                                       any
                                                       ADJECTIVE, PRONOUN, NOUN, & ADVERB




                A word inherited from Germanic.



           Cognate with                       nich, ienich, ng,                  einig (                   nich, ennich,
           enig),                 nig (                               einich, nich),                        einag, eing (
                              einic,               einig, now usually in plural, einige ‘some’), all used as determiners
           in sense ‘any’ (also                         einigr anyone, none); apparently originally a specic use (in
                                ) of the adjective reected by                           ænig, nig (more usually weak nga)
           sole, unique, solitary,                       nich sole, unique,                  einig sole, unique (
           nich sole, unique, solitary,                  enig),               nag sole (
                                                                                     E  R SEN          einich, nich
                                                                                   T
           sole, solitary, in agreement),                           einic,
                                                                        A     . PEsole,9,unique,
                                                                           veinec         2 025solitary (
                                                                     T
           einig united, in agreement),                  I L I
                                                          einga-
                                                                  O
                                                               A V(in       ru
                                                                      compounds)
                                                                         b      ary 1sole, single,
                                                 I F AM ived Fe
           enigh, enge sole,               in M
                                            enigh, enge
                                                       a rch
                                                        sole,          ainaha sole the                base of
                                    t e d
                                  ci of 4sufx       8
           adj. + the             base
                                         . 2  -3181.
                                    No
           With the                    adjective compare similarly-formed                                      nicus sole, unique
           (see            adj.),                               inok (noun) solitary one, and perhaps                         oenach
           (noun) reunion, gathering.




           In                  the usual form ænig (see  forms) shows i-mutation of the stem vowel; the rare
           unmutated form nig results either from variation in the vowel of the                                   sufx (see
                                        1
           discussion at         sufx ) or from the analogical inuence of n                   adj. The form nig shows a
           (typically Kentish) raising of the initial vowel.

           The later  forms chiey show reexes of                               ænig. Shortening of the initial vowel at
           diff
              ferent stages of development is reected in the divergence in modern standard
           different
           between
           b    en the spelling any and the pronunciation /ni/ . Forms with                                           short 
           (g
           (giv
            g v ng ri
           (giving rise to the modern spelling any) reect early shortening (in late                                  ) of æ to æ,


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           whereas forms with                                 short  (giving rise to the modern pronunciation /ni/ )
           reect later shortening of long open ; both shortened forms could sometimes be subject to
           later lengthening (see E. J. Dobson Eng. Pronunc. 1500–1700 (ed. 2, 1968) vol. II. §70). In
                      forms in e are predominantly southern and south midland, while forms in a are
           widespread.

           The                          forms (chiey west midland and south-western) probably show reduction
           of                  ænig in unstressed position (perhaps originally inferred from a shortening of the
           accusative singular masculine æine; compare late                                  æigne). In some cases they can be
                                                            1
           difcult to distinguish from                adv.

           The  forms (chiey east midland and northern, although very widespread in later
                     ) probably show diverse origins: continuation of                                nig, as well as continuing
           inuence from              adj. (compare  forms at               adj., n., & pron.), and rounding of short  before
           n (aided, especially in northern                                  and Older         , by association with similarly
           developed forms of                 adj.; compare forms at that entry).

           Occasional                      and                         forms in -ing apparently show assimilation of the
                                                                                    N               E pronoun) anyone.
           ending to
                                       3
                               sufx ; perhaps compare                                   einingE RS(as
                                                                                               any,
                                                                  v . PET , 2025
                                                         A V OTA uary 19
                                                       I
                                                    MIL ed Febr
                                              I F A
           Use as an indenite adjectiveninM
                                   t e d          8  rchiv contexts is well-established already in
                                          i non-afrmative
                                                    a
                                 ci and4-emphatic
                   . Use in afrmative      318 contexts is also found (see sense A.1c), but the word is
                                      o . 2
           less freely used in suchNcontexts than in modern       , where it can occasionally be near-
           synonymous with                  adj.



           In use with singular count noun only in stressed form. In use with plural or mass noun in either
           stressed or (typically) unstressed form.




           (determiner).

                 In interrogative, hypothetical, and conditional contexts: (with singular count
                 nou
                 noun) used to refer to an unspecied member of a particular class; (with
                  lu
                   ur or mass noun) used to refer to an unspecied number or quantity of a thing or
                 plural



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                 things, no matter how much or how many; some.


                                  Ða cwædon his leorningcnihtas him betwynan hwæðer ænig man [Latin aliquis]
                                  him mete brohte.
                                  West Saxon Gospels: John (Corpus Christi Cambridge MS.) iv. 33

                                  Gif hit ænig preost elles gedo, þolige his wurðscipes & geferena freondscipes.
                                  Laws: Norðhymbra Preosta Lagu (Corpus Christi Cambridge MS.) ii. §1. 380

                                  Hwi luuie ich ei þing bute þe one ?
                                  Ureisun ure Louerde (Nero MS.) in R. Morris, Old English Homilies (1868) 1st Series 201 (Middle
                                  English Dictionary)

                                  ef æi mon him liðere dude.
                                  Laamon, Brut (Caligula MS.) (1963) l. 2131

                                  Huanne þe man heþ uelarede myd enye wyfmane.
                                  Ayenbite (1866) 49

                                  if ony man do þere jnne ony maner metall.
                                  Mandeville's Travels (Titus MS. C.xvi) (1919) 20

                                  By hym or by any othir.
                                                                                        E R SEN
                                  Cronicles Eng. (Caxton) ccxxxij. sig. q7
                                                                                 v . PET , 2025
                                  Yf eny man be ouertaken ofIaAfaute.      V OTA uary 19
                                                       I F  AM
                                  Bible (Coverdale) Galatians vi. A
                                                                   IL
                                                                           ed Febr
                                          t e d  in M 8 archiv
                                  Whocwili shew vs-3any18 good?
                                               . 2 4
                                          NoJames) Psalms iv. 6
                                  Bible (King

                                  To think of any other..way of making the body the souls inholder.
                                  N. Fairfax, Treatise of Bulk & Selvedge 148

                                  Have you any Use in your Country for Upright Honesty?
                                  T. Brown, Amusements Serious & Comical iii. 31

                                  If any opaque-souled lubber of mankind complain.
                                  R. Burns, Letter 26 April (2003) vol. II. 212

                                  The best governed country of which he had any knowledge.
                                  T. B. Macaulay, History of England vol. I. 37

                                  Buckets or carts should be stationed at certain places such as public latrines
                                  where the house sweepers could bring any night-soil.
                                  Admin. Rep. Madras Municipality 1879 App. 166

                                  Laying a mine in the high seas to slaughter innocent travellers whose
                                  intentions,..if they have any intentions, are entirely friendly.
                                  G. B. Shaw, Geneva 70




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                                  Do you have any reason to think that your seed is capable of begetting a male
                                  child?
                                  A. Ghosh, River of Smoke iv. 104




                 In negative contexts: even a single; the slightest. Cf.                   adj. 1a.


                                  Ne þær ænig com blod of benne.
                                  Genesis A (1931) 180

                                  He ne geþafode þæt ænig man [Latin quisquam] ænig fæt ðurh þæt templ bære.
                                  West Saxon Gospels: Mark (Corpus Christi Cambridge MS.) xi. 16

                                  Nas hit nauere isæid..þat æuer ær weore æi swa muchel ferde..þurh ænie king
                                  to-gadere.
                                  Laamon, Brut (Caligula MS.) (1978) l. 15578

                                  That the forsaid wollys..yhe sure..to pas withoutyn ony askying or takyng of
                                  custume.
                                  in C. Innes, Liber Sancte Marie de Melros (1837) 449

                                                                                                E R SEN
                                  Neuere saue in late daies was eny clok telling the
                                                                                      v . PEThouris.
                                                                                                  , 2025
                                  R. Pecock, Repressor (1860) 118               T  A          1 9
                                                                   I L I A VO ebruary
                                  I shall not declare to
                                                         I    AMony iparte
                                                           Fyou           v ed ofF the epystle.
                                                 i n  M          ar  c h
                                        cited 4-3188
                                  J. Fisher, Treatise Penyt. Psalmes sig. aa.ii

                                                 2
                                          No.in such extasie the space of xl. houres at the least without any beating
                                  You abide
                                  of poulse or other perceptible motion.
                                  W. Painter, Palace of Pleasure vol. II. xxv. f. 237v

                                  He must not vncouple any of his dogs: but onely marke the way that the Hart
                                  runneth.
                                  R. Suret, translation of C. Estienne & J. Liébault Maison Rustique vii. xxv. 847

                                  We present not these as any strange sight.
                                  Sir T. Browne, Hydriotaphia: Urne-buriall Epistle Ded. sig. A2v

                                  The Oence does not come under any law.
                                  R. Steele, Spectator No. 503. 2

                                  It ought not to be done at any time.
                                  E. Burke, Reections on Revolution in France 23

                                  I conduct the operations of the Portuguese army as Marshal General, without
                                   any reference to the Secretariat.
                                  Duke of Wellington, Letter to C. Stuart 12 January in Dispatches (1837) vol. VII. 91




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                                  In..sh there is never any breast-bone.
                                  H. A. Nicholson, Manual of Zoology (1880) 463

                                  The bees cannot tolerate any foreign object in their homes.
                                  D. E. Lyon, How to keep Bees for Prot iv. 34

                                  A noun phrase may not have any separate intonation pattern at all.
                                  D. Crystal, Linguistics Interlude 134

                                  Mom never wore any form of make up.
                                  C. C. E. Vermaak, Confessions of Dyslexic Virgin 194




                 With singular noun in afrmative contexts, frequently with emphatic force:
                 used to refer to a member of a particular group or class without distinction
                 or limitation (hence implying every member of the class or group, since every one may in
                 turn be taken as a representative).


                                 Þa wearð he & ealle his geferan forcuþran & wyrsan þonne ænig oðer gesceaft.
                                 Ælfric, Catholic Homilies: 1st Series (Royal MS.) (1997) i. 180

                                                                                              E R SEN
                                 Ða þe hrepodon þæs reafes ænigne dæl þe heo              PE T bewunden
                                                                                           mid       25 wæs, wurdon sona
                                                                                      v .       , 20
                                 hale.
                                                                           A V OTA uary 19
                                                                         I
                                                                      L vol. I. F440ebr
                                                           I F  AMI(1881)
                                 Ælfric, Lives of Saints (Julius MS.)
                                                                           ived
                                                  i n M               c  h
                                                                     r mighte make.
                                        c i ed -þan
                                 Smallertpouder
                                                        3  1    8 afyle
                                                              8eny
                                          N   o . 24 of Bartholomaeus Anglicus, De Proprietatibus Rerum (British Library Add.
                                 J. Trevisa, translation
                                 MS. 27944) (1975) vol. II. xviii. cvi. 1256

                                 Þe nedder..was more wise þen any beest.
                                 Cursor Mundi (Trinity Cambridge MS.) l. 700

                                 In any wyse..labore to haue an ende of your grete materes.
                                 M. Paston in Paston Letters & Papers (2004) vol. I. 367

                                 Hit is ful hard to ony creature to maken declaracion.
                                 translation of G. Deguileville, Pilgrimage of Soul (Caxton) (1859) v. xiv. 79

                                 For all that, it is in any wise [Latin omnino] necessarie.
                                 J. Man, translation of W. Musculus, Common Places of Christian Religion 374 b

                                 Mantuas lawe Is death to any he that vtters them.
                                 W. Shakespeare, Romeo & Juliet v. i. 67

                                 Any time these three hundred yeeres.
                                 W. Shakespeare, Merry Wives of Windsor (1623) i. i. 8

                                 The Director was consulted by him upon any Diculty.
                                 R. Bentley, Dissertation upon Epistles of Phalaris (new edition) Preface p. lxvii




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                                 It was a common piece of raillery in the Court, upon the death of any Prince, to
                                 ask what a person his widow was.
                                 Bishop G. Burnet, History of Own Time (1724) vol. I. 318

                                 That enable any person to give an answer to any question.
                                 J. Ferriar, Illustrations of Sterne ii. 26

                                 On speculative points any man may be suddenly converted.
                                 I. D'Israeli, Quarrels of Authors vol. II. 185

                                 Nearly any parent will, if necessary, preserve the life of the child at the sacrice of
                                 his own.
                                 N. A. Harvey, Elem. Psychology xviii. 215

                                 The publications..are available to any American library on inter-library loan.
                                 Language vol. 44 211

                                 There are strategies that any company can use to cultivate customer
                                 engagement.
                                 1to1 Magazine October 20/2




                                                                             E R SEN
               With quantitative force.
                                                                      v . PET , 2025
                                                            A V OTA uary 19
                                                          I            r however great or
                                                    AMIL ived Feb
                  With plural or mass noun: used to     refer to a number,
                                                I F
                                    t e d  in M or 8a quantity
                  small, of (separable things),
                                                      a rch or amount of (a substance, etc.),
                                 ci
                  even the smallest.         4-318
                                         . 2
                                   No
                                      Ge cnapan, hæbbe ge ænige syinge begyten?
                                      Ælfric, Catholic Homilies: 2nd Series (Cambridge MS. Gg.3.28) xvi. 164

                                      Þa namen hi þa men þe hi wenden ðat ani god hefden.
                                      Anglo-Saxon Chronicle (Laud MS.) (Peterborough contin.) anno 1137

                                      Hire feader feng on earst feire on to lokin, ef he mahte wið eani luue speden.
                                      St. Juliana (Bodleian MS.) l. 95 (Middle English Dictionary)

                                      He acsede..yef he hedde eny zeluer.
                                      Ayenbite (1866) 190 (Middle English Dictionary)

                                      Gi..I..gevis ony leie..to mak ony drauchtis of the said Magdelan burn.
                                      in C. Innes, Registrum de Dunfermelyn (1842) 356

                                      How suld be punyst folk yat beris othir mennis armes but leue to do thame
                                      ony lak?
                                      G. Hay, Buke of Law of Armys (2005) 92




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                                      Haue ye here eny meate? [So in Cranmer, Genev., and 1611; Wyclif, ony thing
                                      that schal be eten, Rhem., any thing to be eaten.]
                                      Bible (Tyndale) Luke xxiv. 41

                                      Yf he had any Iudgement at all he might well perceyue that [etc.].
                                      J. Frith, Boke answeringe Mores Lettur sig. C.iv

                                      Whiche viage is suciently knowen to suche as haue any skyll in Geographie.
                                      R. Eden in translation of S. Münster, Treatyse of Newe India Preface sig. Ajv

                                      Let the priest rence his hands, lest any parcels of the body or bloud be left
                                      behind in his ngers or in the chalice.
                                      J. Foxe, Actes & Monuments 893/2

                                      If there be any tussocks of long grasse, rushes, or dead fogge.
                                      G. Markham, Cavelarice vi. 12

                                      Have you any Mirabilis?
                                      C. Sedley, Bellamira iii. i. 29

                                      Very little if any white about him.
                                      London Gazette No. 4863/4
                                                                                                N
                                                                                      SEof our Mercuries?
                                                                                    Rout
                                      Have you any more blocks, madam, for the hewing
                                                                                           E
                                      H. Brooke, Fool of Quality vol. II. xii. 241  v . PET , 2025
                                                                         A    V  OTA uary 19
                                                                       I
                                      I asked them if they hadILany books.ebr
                                                      M
                                      J. Crabb, Gipsies'  I FAMxiv. 134
                                                         Advocate
                                                                       h  iv  ed F
                                                 i n             ar c
                                         citedany4lead..remains
                                      Whilst          -3  188          to be removed.
                                             o . 2
                                           N in Orr's Circle Sci., Chemistry Chem. 507
                                      J. Scoern

                                      I forgot to ask you if you were going to buy any lard to-day.
                                      H. Jennings et al., May 12th Mass-observ. Day-surv. ii. 387

                                      Any questioning of governmental restriction gives rise to accusations of anti-
                                      patriotism.
                                      El Paso (Texas) Times (Nexis) 9 September




                    Expressing recognized but unspecied value, quantity, duration, etc.:
                    appreciable, discernible; signicant, consequential.


                                  Eal he wearð to woroldscame se þe stod on mane & on misdæde ænige hwile,
                                  butan he gewende þe raþor to his Drihtne.
                                  Wulfstan, Evil Rulers (Hatton MS. 113) (1957) 277




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                                  Thou shalt gyue me all the good that thou hast of ony valewe [French tout ce que
                                  tu as vaillant], or thou shalt drynke all the watre of this Ryuier.
                                  Earl Rivers, translation of Dictes or Sayengis Philosophhres (Caxton) (1877) lf. 55

                                  In every Shire Citty and Towne of any receipt.
                                  R. Greene, Notable Discouery of Coosenage f. 6

                                  If his illness lasts any time, i think it necessary he should have some woman to
                                  look after him as i sent word by Mr. Wyburn yesterday.
                                  Mary of Modena, Letter 5 June in M. Hopkirk, Queen Over Water (1953) x. 231

                                  No gre-hound of any value should be run at this course.
                                  Encyclopædia Britannica vol. III. 2284/2

                                  To balance himself for any time in the same position the rope-dancer must strain
                                  every nerve.
                                  W. Hazlitt, Table-talk vol. I. i. 18

                                  The Kiwi bird..cannot migrate with the warm seasons, or travel any distance in
                                  search of food.
                                  National Geographic Magazine June p. xii (advertisement)

                                                                                           N a song.
                                                                                       SEinto
                                  Any incident of any importance immediately found its way
                                  Smithsonian October 117/2
                                                                           P E TER 25
                                                                 O T  A v. y 19, 20
                                                     M  I L IA V ebruar
                                          n  M I FA chived F
                                         i or quantity:agreat,
                                                        r
                                   cited 4-3188
                    colloquial. Of number                      large, considerable; (also hyperbolically)
                                         2 also any amount (of) at
                                     No.
                    unlimited, endless. See                                   n. Phrases P.2b.


                                 It may not be improper, where there is a prospect of keeping the wooden print for
                                  any length of time, to use very thin plank.
                                 R. Dossie, Handmaid to Arts vol. II. 214

                                 I had any quantity, of the very best quality [sc. of House of Commons paper],
                                 furnished me, with ready-made pens by the dozen.
                                 R. Gourlay, Appeal to Common Sense, Mind, & Manhood British Nation p. xxxv

                                 He will nd any number of pretty Hookers in the Brick row not far from French's
                                 hotel.
                                 in N.E. Eliason, Tarheel Talk (1956) 277

                                 In the woods near us we found any quantity of grapes and chinquapins.
                                 O. W. Norton, Army Letters (1903) 26

                                 We cut down any number of the poles.
                                 O. W. Norton, Army Letters (1903) 50




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                                 There's a man in Kensington..who seems willing to buy any quantity of sgrato
                                 work.
                                 V. Bell, Letter 20 December in Selected Letters (1993) 509

                                 She misidenties a girl from Sunderland..as a Geordie (thereby alienating any
                                 number of Mackem readers).
                                 Economist (Electronic edition) 3 August 77


                      colloquial and slang



               With qualitative force: (in positive or neutral sense) of whatever sort or kind;
               (in negative or depreciative sense) of whatever kind, however imperfect.
               Frequently as the rst element in compounds: see                      n.,            pron. & n. A.II.3,        adv. 1b,
               etc.


                               Ne beo ðu ænig manslaga.
                               Wulfstan, Christian Life (Hatton MS.) 201

                               She was a Prymerole, a piggesnye For any lord to leggen in his bedde Or yet for
                               any good yeman to wedde.                                           E R  SEN
                               G. Chaucer, Miller's Tale (Hengwrt MS.) (2003) l. 83 v. PE
                                                                                                T
                                                                                   A              9 ,  2025
                                                                               O T              1
                               Men neuer caste any fauoure          I L I
                                                                       to Aa V
                                                                             woman, b ru
                                                                                     but aforrysome   good propretie.
                                                           F A  M              d Fe
                               R. Hyrde, translationM   I                    e
                                                                      chiv of Christen Woman i. xvi. sig. S
                                                                                                           v


                                          t e d  in of J. L. Vives,
                                                             8   a rInstructio
                                      ci what4soeuer
                               Any truthe            -318 it bee, is better then any thyng, that can of our owne heade
                                               . 2
                               be deuisedNoof vs.
                               J. Northbrooke, Spiritus est Vicarius Christi: Poore Mans Garden f. 100

                               Now am I ready for any Plot; I'le go nd some of these Agitants.
                               R. Howard, Committee iii. i, in Four New Plays 95

                               Any Excuse is better than none.
                               J. Dunton, Dublin Scue 103

                               Marriage is at present so much out of fashion, that a lady is very well o, who can
                               get any husband at all.
                               O. Goldsmith, Citizen of World vol. II. 98

                               Some are studying to be rich by any means; others studying how to cheat,..and
                               some are even studying how to set the world on re.
                               T. Burns, Sermon 49

                               The danger is..that any reform should be adopted because some reform is
                               required.
                               M. Pattison, Suggestions on Academical Organisation 2




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                               One of the common trees that may be found on almost any lawn.
                               Scribner's Monthly November 37/1

                               Any change would be an improvement.
                               Public Libraries January 39/2

                               The prevailing psychology of Hollywood is that any publicity is good publicity.
                               Fresno (California) Bee 1 August

                               What riled the senator wasn't just any unwanted pregnancy, but pregnancy by rape.
                               W. Saletan, Bearing Right (2004) vii. 174




                 Followed by one (as pro-form or, in early use, emphatic pronoun), with
                 anaphoric reference and limiting force (cf.                         pron. C.V.13).


                              Swa se waldend us, godbearn on grundum, his giefe bryttað. Nyle he ængum anum
                              ealle gesyllan gæstes snyttru.
                              Cynewulf, Crist II 683



                                                                                                 E R SEN
                              Thou mayste rather blame me, for the superuyteE
                                                                                        v . P ofTmany
                                                                                                   , 2
                                                                                                      thynges
                                                                                                       025 mo then neded.
                              Then for the lack of any one.
                                                                         A   V OTA uary 19
                                                                       I Boke sig. h.ii r
                                                            AMIL ived Feb
                                                                                          v
                              J. Gwynneth, Confut. Fyrst Parte Frythes
                                                        I F
                                              d
                              Behold Christian,
                                          t e   in ifMamongs8
                                                                       h roabes, there be any one which thou hast
                                                                aalrcthese
                                      c i               1 8
                              seene before.. 24-3
                              W. Painter,N
                                             o
                                          Palace of Pleasure vol. II. xx. f. 134 v



                              Of all those Enchantments which he hath dissolv'd, there is not any one which you
                              could not have master'd.
                              J. Davies, translation of V. de Voiture, Letters i. iv. 7

                              Their authority may be a means of deterring many persons from applying their
                              minds to this subject; yet there is scarcely any one which more requires
                              investigation.
                              Monthly Magazine September 196/1

                              See that all the pigs are safe, and..remove any one immediately that..may have died
                              in the pigging.
                              H. Stephens, Book of Farm vol. II. 699

                              Among the many building papers which are now ooding the markets, it is a dicult
                              matter to choose any one that is really the best.
                              F. T. Lent, Sound Sense in Suburban Architecture vi. 68




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                              There should be formed in Halifax an overhead university connected with all the
                              colleges, but not particularly with any one.
                              School & Society 10 June 640/2

                              There were other days like this in the Mara—I could pick any one at random.
                              R. Hume, Life with Birds 284




                 Followed by one (as adjective) with limiting force (cf.                     adj. A.II.3a).


                                 Eny oon persoon.
                                 R. Pecock, Repressor (1860) 384

                                 Neither soule, eshe, nor reason can in any one thyng please thee.
                                 S. Avgvstines Manuell in Certaine Prayers S. Augustines Medit. (revised edition) sig. Pv

                                 I understand not any one word.
                                 W. Walker, Idiomatologia Anglo-Latina 26

                                 I shall not allow the reviving of any one Part of that antient Mode.

                                                                                                       SEN
                                 R. Steele, Tatler No. 118. 12
                                                                                                 E R
                                 That any one district of Amsterdam was busier
                                                                                      v .   ET another
                                                                                          Pthan          025at any one hour.
                                                                                 T A           1  9 , 2
                                                                        A VO ebruary
                                 H. Martineau, Messrs. Vanderput & Snoek    i. 1
                                                                  I L I
                                 Latex-cells are notM  I  FAM to
                                                        restricted
                                                                     h  iv edone
                                                                          any
                                                                                 F organ of the plant.
                                               i n                r c
                                                               aGoodale,
                                        cited in A.4-Gray
                                 G. L. Goodale
                                                      3 18&8G. L.           Botanical Text-book (ed. 6) vol. II. i. ii. 95

                                 It is an N o. 2
                                          exaggeration    to attribute a general change in a climate of thought to any
                                 one piece of writing.
                                 A. N. Whitehead, Science & Modern World ix. 198

                                 It is no longer conceivable for any one Church of the Christian oikumene to go it
                                 alone.
                                 Church Times 13 April 9/5




                 Chiey in negative, interrogative, and conditional contexts: any person or
                 persons at all; even a single individual; (also) a given individual or group of
                 individuals; someone, some people. Cf.                         pron. 1.
                 Now less common than anyone or anybody.




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                                 [Northumbrian dialect] Et non sinebat ut quisquam transferret uas per templum : &
                                 ne gelefde þætte ænig [OE West Saxon Gospels: Corpus Cambr. ænig man]
                                 oferferede faet ðerh þæt tempel.
                                 Lindisfarne Gospels: Mark xi. 16

                                 Ne sege þu heononforð þæt ænig sy his gelica.
                                 Ælfric, Lives of Saints (Julius MS.) (1881) vol. I. 474

                                 He nollde nohht. Þatt ani shollde dwellenn.
                                 Ormulum (Burcheld transcript) l. 9938

                                 Is ani ricchere þen þu, mi leof, þat rixles in heuene?
                                 Wohunge ure Lauerd in R. Morris, Old English Homilies (1868) 1st Series 271 (Middle English
                                 Dictionary)

                                 if þat eni him wraþþede, adoun he was anon.
                                 Chronicle of Robert of Gloucester (Caligula MS.) 7721

                                 Yit have I..nott lete any at hys most neede.
                                 J. Paston in Paston Letters & Papers (2004) vol. I. 454

                                 Please they any , That serue many? Nay.
                                                                                               E R SEN
                                 J. Heywood, Hundred Epigrammes iii. sig. Aiiii
                                                                                     v . PET , 2025
                                 Wherefore if any be desirousIto       A V OTA
                                                                         vomit,  let them
                                                                                      u  ary  19 go to the Sea.
                                                                                            rather
                                                      I  F
                                 T. Cogan, Hauen of Health   AMI216
                                                             ccxvii.
                                                                     L
                                                                         e d    Febr
                                           t e d  in M 8 archiv
                                        ci is..not4-willing
                                 The Lord            318 that any should perish.
                                                . 2
                                          NoJames) 2 Pet. iii. 9
                                 Bible (King

                                 Into which Society when any are admitted, they call a meeting.
                                 R. Plot, Natural History Staordshire viii. 316

                                 Whether this may not be one reason why scarce any are educating, amongst us,
                                 for the ministry, I shall not positively determine.
                                 S. Lowthion, Friendship of visiting Fatherless 27

                                 You may say in general in the family (if any should bark) that you are satised with
                                 my conduct.
                                 E. Gibbon, Letter 19 December (1956) vol. II. 133

                                 If any can pretend to know the world, or to have seen scary sights, it is myself!
                                 J. F. Cooper, Prairie vol. II. v. 68

                                 If any should wish a further proof.
                                 H. R. Haggard, King Solomon's Mines vii. 117

                                 The eect on the modern Emperor..was more than any could have guessed.
                                 R. Sencourt, Napoleon III ii. ix. 190




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                                 So amenably courageous in leaving his door ajar for any who would enter.
                                 F. Exley, Fan's Notes vi. 288

                                 Any who did it [sc. investigating complaints] with cheerful willingness usually
                                 applied to join A10.
                                 G. F. Newman, Detective's Tale 74




                 In afrmative contexts, frequently with emphatic force: any person without
                 distinction or limitation; (hence implying every person: see sense A.1c). Cf.
                 pron. 2.


                                Mare than ony that leuand is [French plus que nus qui soit vis].
                                translation of Buik of Alexander (1927) vol. III. ii. 6801

                                Thou art for any who in thee beleeves, Though Traytors, Strumpets, Murtherers, or
                                Theeves.
                                G. Wither, Britain's Remembrancer i. f. 30v

                                Innitely beneath any , who are endued with the smallest portion of a Royal spirit.
                                J. Crowne, Pandion & Amphigenia i. 38                         E R  SEN
                                                                                   v  . PET , 2025
                                [He] has wrote a more correct Account
                                                                        A V OTofAItalyua  ry 19 than any before him.
                                                                                        in general
                                                                      I            r
                                                         I F AM L A4ived Feb
                                J. Addison, Remarks Italy Preface Isig.

                                I know the  t e d  in M
                                                stage, the tricks
                                                             8    rchactors play, And mark their characters as any may.
                                                                athe
                                        c i              1 8
                                               o . 24-3Verses 222
                                R. Cobbold, Valentine
                                          N
                                It [is] hard for any who are not desert-bred to nd their way.
                                M. L. Whately, Ragged Life in Egypt (1863) x. 88

                                Pessimism, under the rule of a Pax Britannica, was a dirty little luxury which any
                                could aord.
                                R. Ardrey, Territorial Imperative (1967) viii. 283

                                The great warhorses..crushed any before them under their heavy hooves.
                                G. Jennings, Aztec Rage (2007) i. 1




                 With anaphoric or cataphoric reference: one or some (of that previously or
                 subsequently mentioned). Chiey in negative, interrogative, and conditional
                 contexts.


                                  We lærað þæt ælc calic gegoten beo þe man husl on halgige, and on treowenum
                                  ne halgige man ænig .
                                  Wulfstan, Canons of Edgar (Corpus Christi Cambridge MS.) (1972) xli. 10




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                                  Eac on morgen..gedyde se wind swa mycel to hearme her on lande..swa nan man
                                  ne ge munde þat æfre ænig ær gedyde.
                                  Anglo-Saxon Chronicle (Laud MS.) anno 1103

                                  I beo-take þe..soules to kepe; if eni þorw þi defaute falle fro my riche, At þe day
                                  of Iuggement þou beost ioyned harde.
                                  Joseph of Arimathie (1871) l. 307 (Middle English Dictionary)

                                  We sal gif him the best counsale we can quhen he ony askis at ws.
                                  in J. Stuart, Misc. Spalding Club (1842) vol. II. 253

                                  As excellent a lesson as a man shall read any .
                                  A. Golding, translation of J. Calvin, Sermons on Deuteronomie xlvi. 276

                                  [He] pawnes his rings if he hath any , his sword, his cloake, or else what he hath
                                  about him.
                                  R. Greene, Notable Discouery of Coosenage f. 5v

                                  Cac. Ever thank him that has mony. Sanc. Wilt thou lend mee any ?
                                  J. Fletcher, Rule a Wife (1640) iii. 30

                                  This, if any , may probably destroy that obstinate Disease.
                                  Sir T. Browne, Certain Miscellany Tracts (1683) v. 115
                                                                                           E R SEN
                                                                                         T
                                                                                      PEany
                                  Must you, my Lord,..add to my Plagues, if v       .
                                                                                  I have    ? 2025
                                                                              T A         19 ,
                                  S. Richardson, Pamela vol. IV. lxi. 410 VO           ry
                                                           A  M   ILIA        F ebrua
                                                      I F, are..xed        d
                                                                          e the hold diagonally to support the beams.
                                  The pointers, ifM
                                             d i n  any
                                                               a  r c hivacross
                                        cite Universal
                                  W. Falconer,
                                                  4-3    88 of Marine at Ship-building
                                                      1Dictionary
                                               2
                                         No.
                                  The narrowness     of the head..is not remarkable, and very slight pressure, if any ,
                                  has been applied to the frontal bone.
                                  S. G. Morton, Crania Americana 107

                                  The mean temperature of the month was lower than any recorded since 1879.
                                  Scotsman 11 July 5/3

                                  The whole tone of the letter must be called a greater blow to my hopes than any
                                  I have yet had from you.
                                  P. Grainger, Letter 31 January in All-round Man (1994) 88

                                  Maybe he should talk to a priest? He didn't know any .
                                  A. Atwater-Rhodes, Token of Darkness i. 8




                 Followed by of.
                 In Ol
                    Old English and early Middle English also with partitive genitive.




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                                  For þon þe þu eart blind, þu ne gesihst ænigne of Godes þam halgum.
                                  St. Andrew (Corpus Christi Cambridge MS.) in F. G. Cassidy & R. N. Ringler, Bright's Old English
                                  Grammar & Reader (1971) 214

                                  Saga me..hwæðer þu ongæte his wundra ænigu .
                                  Wærferð, translation of Gregory, Dialogues (Corpus Christi Cambridge MS.) (1900) i. x. 79

                                  if ic æni þare yfæ habbe þe ðu yrnende bist.
                                  Homily: Hist. Holy Rood-tree (Bodleian MS. 343) (1894) 6

                                  ef hit is misboren..& wonti ei [a1250 Titus MS. eni] of his limen, Oðer sum mis
                                  feare, hit is sorhe to hire.
                                  Hali Meiðhad (Bodleian MS.) (1940) 495

                                  Huo þet agelt ine enie of þe ilke hestes.
                                  Ayenbite (1866) 5 (Middle English Dictionary)

                                  If ony of ou nedith wisdom, axe he of God.
                                  Bible (Wyclite, early version) (Royal MS.) (1850) James i. 5

                                  Gif..[they] rebellis or disobesis till ony of the saide lordis again resoun.

                                                                                          E R SEN
                                  in J. Stuart & G. Burnett, Exchequer Rolls of Scotland (1880) vol. IV. p. ccxi

                                  If eny of you lacke wysdome.                    v  . PET , 2025
                                  Bible (Tyndale) James i. 5
                                                                      A  V OTA uary 19
                                                                    I
                                                               MIL ed Febr
                                                         I F A
                                  It is a sinne, n
                                           t e d  i as M     8  a rchiv or Churche robbinge, to reason of any of the
                                                       greate as Sacrilege,
                                  Popes ci dooinges. 4 -318
                                  J. Jewel,N    . 2
                                              o Apologie Churche England v. vi. §7. 533
                                            Defence

                                  If there be any of him left, Ile bury it.
                                  W. Shakespeare, Winter's Tale (1623) iii. iii. 127

                                  In any of these cases, the print left by the Seal, will be obscure.
                                  J. Locke, Essay Humane Understanding ii. xxviii. 164

                                  How do you know more than any of us?
                                  R. Steele, Spectator No. 154. 2

                                  Dame Tilbury's daughter has lain-in—Shall I give her any of your Baby Cloathes?
                                  J. Austen, Letter 27 October (1995) 17

                                  As every count in the indictment contains a distinct charge, there is no doubt that
                                  the jury may acquit or convict on any of them.
                                  E. Hayes, Crimes & Punishments ii. xiii. 631

                                  Oats contain a larger proportion of gluten than any of the other cereals in use.
                                  J. Harley, Royle's Manual of Materia Medica (ed. 6) 371

                                  I like you a fabulous lot; and any of my friends could tell you that.
                                  V. Sackville-West, Letter 22 August in Letters to V. Woolf (1984) 43



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                                  I had always ambled through life, never suering from.. any of the ills the urban
                                  mind is prey to.
                                  Independent 24 February 15/1




               One of two things indifferently; either. Now nonstandard.
               In early use frequently in †                  : either of two (obsolete).




                                                                               E R SEN
                                                                       v  . PET , 2025
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                                                              I         r
                                                      I F AMIL ived Feb
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                               Ony of the said partis.
                               in J. Slater, Early Scots Texts (Ph.D. thesis, Univ. of Edinb.) (1952) No. 53

                               If that any [c1415 Corpus Christi Oxford MS. eny, c1430 Cambridge MS. Gg.4.27 ony] of
                               vs haue moore than oother Lat hym..parte it with his brother.
                               G. Chaucer, Friar's Tale (Hengwrt MS.) (2003) l. 233

                               Sithen fewe othere taken eny of hem bothe.
                               R. Pecock, Repressor (1860) 558

                               Doth anie of both these ensamples proue, that [etc.]?
                               M. Coverdale, Confutacion Standish sig. f.viijv

                               Not at all..beneted by anie of them both.
                               A. Fleming et al., Holinshed's Chronicles (new edition) vol. III. 1253/1

                               The Ministers of God are not to evade, or take refuge in any of these two
                               forementioned wayes.
                               R. South, Interest Deposed 14

                               The passage by any of the two bridges is impossible.
                               Edinburgh Magazine November 400/2
                                                                                              E R SEN
                                                                                  v .P    ET        025
                               The cannonier, who had pointed the gun,A
                                                                            T could             , 2
                                                                                        not ascertain..whether
                                                                                             19                any of the
                                                                        V O              ry
                                                                                    ua shock.
                               two salient points had not been
                                                            A  M   ILIA     Fe brsome
                                                                      deranged by
                                                   M F arcCompanion       d
                               L. de Tousard, AmericanIArtillerist's
                                            d  i n                   hive vol. II. vii. 201
                                         ite religious
                               We ndcmore          -3      8 amongst them [sc. the Swedes] than amongst any of
                                                       18sects
                                               2  4
                                         No. nationalities.
                               the two other
                               M. Salmonson, From Marriage License Window viii. 72

                               Many exporters are willing to concede that a bank may cancel its advice at any of
                               the two points mentioned above.
                               G. W. Edwards, Foreign Commerc. Credits iv. 53

                               Any , either, one of two things.
                               C. I. Macafee, Concise Ulster Dictionary 7/1

                               For him [sc. Descartes], the sum of motion of two equal bodies travelling at equal
                               speed in opposite directions is double that of any of the pair.
                               M. R. Matthews, Time for Sci. Education viii. 202


                 irregular




               Modifying
                 diiff   comparative adjectives and adverbs: in any degree, to any extent, at all.



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               See also                  adj.,             adj.,               adv.
               Earliest attested in                adj.


                                With oute ani more lette Þat treo ful sone upriht him sette.
                                Childhood Jesus (Laud MS.) 137 in C. Horstmann, Altenglische Legenden (1875) 1st Series 7

                                Or he come eny nere.
                                J. Lydgate, Life of Our Lady (Durham MS.) (1961) vi. l. 263

                                Not mynding to dierre the time any farther.
                                Hall's Vnion: Henry VI f. clxxxiiij

                                I suppose we neede not to reason any curiouslyer hereof at this present.
                                J. Daus, translation of H. Bullinger, Hundred Sermons vpon Apocalipse (revised edition) xxxii. f. 91v

                                You are not to goe loose any longer.
                                W. Shakespeare, Merry Wives of Windsor (1623) iv. ii. 113

                                Before you go any farther.
                                R. Steele, Spectator No. 154. 4

                                It is impossible any longer to nd a pound of butter or cream to our tea in all the
                                country.                                                  E R  SEN
                                W. Cowper, Letter 30 November (1984) vol. IV. 246 v. P
                                                                                       ET       025
                                                                            T  A         19 ,  2
                                                               I L I A VO        b ruarydone
                                                       I F AM ived Fe
                                It is a well-known fact..that  contract   work  is never      any better than can be
                                helped.
                                           t e d  in M 8 arch
                                        ci & Architect's
                                Civil Engineer
                                                    4-318Journal October 46/1
                                                . 2
                                          No
                                Few people..would be any the worse for the study.
                                L. Stephen, Hours in Library 1st Series 347

                                Knowing you coped with mother too doesn't make me feel any better.
                                K. Ferrier, Letter 30 January (2003) v. 141

                                We won't be any the wiser until the earthquakes strike.
                                Ecologist July 97/1




               U.S. colloquial and British regional. In negative, interrogative, and conditional
               contexts, modifying a verb: to the slightest extent; at all.


                            Y'r colts have not been gentled any , so that Charles can't lead them up.
                            R. Lee in Virginia Hist. Magazine vol. 3 356

                            I have not traveled any this day on account of my horses.
                            S. Holten, Journal in Essex Institute Hist. Coll. (1920) vol. LVI. 96




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                            It can't be that he has been examined and cross-questioned, and diered any .
                            Massachusetts Spy 8 August

                            Your words come down jest like rain spatterin' on a rock. They don't soak in any .
                            J. G. Holland, Bay-path iii. 32

                            It is a good tune—you can't improve it any .
                            ‘M. Twain’, Innocents Abroad iv. 45

                            He's not worked any sin' June. She can't sit up any.
                            R. E. G. Cole, Glossary of Words South-west Lincolnshire 7

                            I don't think he could have suered any , he looked so peaceful.
                            Harper's Magazine April 778/2

                            One interesting speech followed which did not help matters any .
                            Booklovers' Magazine March 360

                            Costa was not used to springs, and he did not mind this any .
                            H. P. Fairchild, Greek Immigration to United States 101

                            Did it raan any ?
                            A. E. Pease, Dictionary of Dialect of North Riding of Yorkshire (at cited word)

                                                                                      E R SEN
                                                                                   PET , 2025
                            This couldn't have helped the Yogi any .
                                                                               v .
                                                                          OTA uary 19
                            Punch 17 September 386/1
                                                                    I A V      r helped the matter any .
                            My humiliation in front of A
                                                           F  MIL Canavan
                                                             Detective
                                                                        ed Febhasn't
                                                   n Fat
                            M. Cabot, Size 12 is inot
                                                         I
                                                      M 89 archiv
                                      ci t e d           188
                                                  2 4 -3
                 British English         No. colloquial and slang
                                   U.S. English




                           .

                       Anybody or anything except (that specied).


                                       They ne shal but denye, that name of goodnesse to be graunted to ony, but
                                       to wise men.
                                       J. Tiptoft, translation of Cicero, De Amicicia (Caxton) sig. a6

                                       No lorde sente any but [French ne..que ceulx] of their owne seruauntes.
                                       Lord Berners, translation of J. Froissart, Cronycles vol. II. clxix. f. cxciiiv/2

                                       I have red one wonder of hyr, whiche I neuer hearde of in any but in hir, that
                                       is, that she never shewed aection to any man.
                                       E. Fenton, translation of P. Boaistuau, Certaine Secrete Wonders of Nature f. 66




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                                       An open house, where stands his chaire empty, vnlawfull for any but
                                       himselfe to sit in.
                                       R. Jobson, Golden Trade 46

                                       This dish of meat is too good for any but Anglers.
                                       I. Walton, Compleat Angler vii. 160

                                       Nor will North Britain yield for fouth Of ilka thing, and fellows couth To ony
                                       but her sister South.
                                       A. Ramsay, 1st Answer to Somerville 76

                                       It was wholly impossible for any but those which knew otherwise, not to have
                                       mistaken her for their natural Mother.
                                       J. Wilford, Memorials & Characters 498

                                       Would any but a poet..have brought all the dierent marks and
                                       circumstances of a sea-loch before the mind.
                                       S. T. Coleridge, Biographia Literaria vol. II. xx. 113

                                       A task beyond the power of any but the few Masters of our literature.
                                       E. Lynn Linton, George Eliot in Women Novelists 101

                                       The monasteries had long ceased, most of them, to S EN any but interns.
                                                                                         teach
                                       A. Beales, Educ. under Penalty i. ii. 18
                                                                                       P E TER 25
                                                                         O   T A v. y 19, 20
                                                                I L IA V archaea
                                       The attributes that distinguish
                                                                                b  ru  ar bacteria are not the sort that
                                                                                     from
                                                              M
                                                        FApulsehofivany        e
                                                                             F a biologist.
                                       would quickenI the
                                                    M             c    ed but
                                                i n           ar Everything (2004) xx. 377
                                       cited Short
                                       B. Bryson,
                                                    -3
                                                      Hist. 8
                                                      1 8 Nearly
                                                24
                                          No.
                       Of any kind other than (that specied).


                                    He prohibited all publike exercise of any but the Romish religion.
                                    translation of J. de Serres, Hist. Coll. 266

                                    That the Apostles should leave the Care of all the Churches, to take up that of
                                    one Particular Church,..can never go down with any but a Roman Swallow.
                                    W. Hughes, Man of Sin ii. i. 9

                                    Some few tops [of parsley] may be indeed used in sallets, but it is a little too
                                    coarse for any but rusticated palates.
                                    S. Switzer, Practical Kitchen Gardiner vii. lvi. 295

                                    The burthen..too heavy for any but Atlantean shoulders.
                                    W. Cowper, Letter 22 April (1982) vol. III. 279

                                    My eyes are too weak to count the threads of any but coarse canvas.
                                    M. Wilmot, Letter 25 September (1935) 250




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                                    The volatility of the acid renders any but recently prepared gauze
                                    untrustworthy.
                                    W. MacCormac, Antiseptic Surgery 103

                                    It is scarcely conceivable that any but an American designer would have
                                    designed such a building: it is ‘styling’ applied to architecture.
                                    Architectural Review vol. 86 62/1

                                    The wavefunction..is merely a theoretical tool for making (probabilistic)
                                    predictions and should not be accorded any but mathematical reality.
                                    B. Greene, Fabric of Cosmos 513




                                    : each without exception (of the specied kind); every single; each
                 and every. Cf. all and sundry at                adj., pron., n., adv., & conj. Phrases P.5b.


                                 And of every Twentye shillinges value of Tynne and Pewter Vessell caried oute of
                                 thy yor Realme by any and every Marchaunte Alyen dij d. over and above the xij d.
                                 aforesayd.
                                 Act 1 Elizabeth I c. 20 in Statutes of Realm (1963) vol. IV. i. 382
                                                                                                 E   R SEN
                                                                                               T
                                                                                          PEfellowes.
                                 His authoritie excelled any and euery one         A  v
                                                                                      of. his     9  , 2  025
                                                                                 T              1
                                                                      I A VO
                                 J. Bridges, Defence Govt. Church of England
                                                                  I L         v. 462 ruary
                                                                                    b
                                                        I  F AM ived Fe
                                                     M          arcinhany and every of their works upon earth.
                                              d in imployed
                                 Their hands were
                                        cite            1  8 8
                                 Discourse
                                                 2 4  3
                                            Dierence-Long  Prayers 11 in R. Steward, Several Short, but Seasonable Discourse (1684)
                                          No   .
                                 Where a nation refuses permission to our merchants and factors to reside within
                                 certain parts of their dominions, we may..refuse residence to theirs in any and
                                 every part of ours.
                                 T. Jeerson, Rep. 16 December in Public & Private Papers (1990) 120

                                 The term misplaced gout..has been applied to any and every incidental disease
                                 occurring in a gouty habit.
                                 J. Forbes et al., Cycl. Pract. Medicine vol. II. 378/2

                                 Those who..profess themselves willing to take, ‘lying down’, any and every
                                 inconvenience that the victorious Irish may inict.
                                 Saturday Review 4 August 133/1

                                 The brother..is a modern Churchman, which means, as far as I can see, an
                                 attachment to any and every belief save the dogmas of his own religion.
                                 A. Wilson, Anglo-Saxon Attitudes i. iv. 172

                                 Betrayal, booze and bad luck put paid to any and every scheme.
                                 Times Literary Supplement 4 March 20/1




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                             also                                    , etc. : (anticipating a possible event or outcome) very
                 soon; imminently; within a short time. Also in form                                    and variants.
                 Cf. any day (of the week) at         n. Phrases P.9g.


                              Those hands..might any time produce me 500 bushels of wheat which they could
                              not do when sown in Tobacco ground.
                              L. Carter, Diary 31 August (1965) vol. I. 479

                              A crater-crust which may crack and spue re any day .
                              C. Brontë, Jane Eyre vol. II. v. 132

                              Alice..had not as yet had any dispute with the Queen, but she knew that it might
                              happen any minute .
                              ‘L. Carroll’, Alice's Adventures in Wonderland viii. 122

                              He said this girl..might be leaving the party any moment now.
                              P. G. Wodehouse, Bill the Conqueror ii. 32

                              I shall be rescued any day now.
                              W. Golding, Pincher Martin (1960) 139


                                                                                    RSfor
                              Baby Nathan looks as if he could wake up and start bawling ENhis dinner any
                                                                                  E TE
                              second.
                                                                          A v . P
                                                                                     9 , 2025
                                                                        T           1
                              C. Glazebrook, Madolescents 17
                                                              I L I A VO ebruary
                                                  M  I FAM hived F
                                              in             arc
                                      cited 4-3188
                                              2
                                        No.
                 Originally and chiey U.S.                                  : in any way whatsoever; in whatever way;
                 (also) in a random way, haphazardly. Cf.                                      adv.


                              I can make nayther head not tail to it—nor swallow it up not down—nor git it any
                              which way at all at all.
                              Star & Republican Banner (Gettysburg, Pennsylvania) 27 December

                              But bleedin' at the heart, marm, is sudden death any which way you x it.
                              T. C. Haliburton, Season-ticket ii. 53

                              After the rst two or three drawers had had their upper levels xed up, things were
                              pushed into the others any which way, and when she was through they were
                              locked.
                              C. Day, Life with Father 213

                              The tractor was driven any which way by whoever happened along and was quickly
                              ruined.
                              T. P. Whitney, translation of A. Solzhenitsyn, Gulag Archipelago vol. I. i. v. 193




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                              The locals continue to prepare it any which way, pounding it, mincing it, marinating
                              it, frying it, steaming it, grilling it and stewing it in gravy.
                              Olive July 135/1


                   U.S. English



                             : (in predicative use, chiey in negative, interrogative, and conditional
                 contexts) at all good (in various senses); of any ability, competence, quality, utility,
                 or value.
                 [Perhaps originally after no good.]


                              The blacksmith’s house, you know, was burned down, and his kind of a register-—if
                              it was any good , and I am sure I don’t know if it was any good —and then that
                              woman died.
                              Good Words January 2/2

                              And when I buy a goose unplucked, if his quills are any good , his legs won't carve,
                              and his gizzard is full of gravel-stones!
                              Harper's Magazine June 138/1
                                                                                           E  R  SEN
                              Oh, chuck it! I never was any good at arithmetic! v . PET , 2025
                              Punch 31 July 88/2                    A V OTA uary 19
                                                                  I             r
                                                        I F AMIL ived Feb
                              Nothing can shift      M squadron
                                                  in our       archunless a Black Maria happens to do us in, as no
                                           t e d
                                        ci any good         8
                                                        18 them.
                              trench is
                                                . 2 4-3against
                                          No Letter 13 November in L. Housman, War Letters Fallen Englishmen (2002) 213
                              C. E. A. Philipps,

                              Are work shadow schemes any good ?
                              Guardian 15 July 1/8

                              You must practise designing to be any good at it.
                              S. Dharmapala, Saree (2015) 28




                 colloquial.

                                  : any person or thing of a specied type without distinction or
                       discrimination; any —— whatsoever. Cf. sense A.3 and                      adj. III.16c.


                                     Newlove was selling his Furniture by Auction yesterday..; we neither wanted
                                     any old Ri Ra, nor had any Money to waste in it.
                                     R. Sharp, Diary 5 March (1997) 407 ]

                                     Any old farmer..could buy up him and a hundred more like him.
                                     G. Ade, Artie xviii. 171



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                                     ‘Would you like to have a chance to study?’..‘Study? What?’ ‘Sculpture— any old
                                     thing!’
                                     R. W. Chambers, Common Law ii. 63

                                     His steward..just shoves some fruit in his cabin, any old time.
                                     B. Hamilton, Too Much of Water iv. 78

                                     Len likes his morning slice. And not just any old slice, but the right kind of slice
                                     fried in the right kind of way.
                                     M. McGrath, Silvertown (2003) viii. 86


                         colloquial and slang


                                                           1
                       any old thing: see                n. Phrases P.15.

                         colloquial and slang



                                       .

                            In any case; at any rate. Cf.                     adv. A.3a.
                                                                                             E R SEN
                                                                                  v  . PET , 2025
                                        I'd like to know what he was after.
                                                                         V O TAIf it was
                                                                                        ry    9 out how many Dacres
                                                                                          to1nd
                                        there be, he didn't get
                                                                M     IA measure,
                                                                  ILfull    F e   rua down, running over, any old
                                                                                bpressed
                                        how . n MI F
                                                              A           d
                                               d i              a r chive
                                       cL.ite      4  -3   of8
                                            S. Dorr, Mills 1  8 ii. 11
                                                             Gods
                                                 2
                                         No.she likes me. But liking's nothing. Well, any old how , I had to tell you.
                                        Yes,
                                           P. Creswick, Beaten Path xxxiii. 183

                                           Any old how ..he managed to get behind him.
                                           F. Norman, Bang to Rights ii. 34

                                           I'd say you were lucky to get him, any old how .
                                           K. Coles, Measurable World ii. vi. 141


                              colloquial and slang


                            In a haphazard manner; unmethodically, carelessly. Cf.                                 adv. A.2.


                                           The teacher hunts down the examples in various arithmetics, writes them
                                           on the board, often hurriedly..; he does it accurately, perhaps, but ‘ any old
                                           how ’.
                                           E. C. Wilson, Pedagogues & Parents x. 201

                                           Scenes like a splash of confetti Hurled any old how .
                                           Punch 23 August 216/1



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                                          The kind of woman who gets herself up any-old-how ..deserves just what
                                          she gets.
                                          M. Hillis, Orchids on your Budget v. 81

                                          As you went into the mine, the passages were more and more
                                          provisional,..the sides just hacked out any old how .
                                          P. Hensher, Northern Clemency 179


                              colloquial and slang



                       Originally U.S.                      : in no particular manner or order; in any way
                       whatsoever; ‘any old how’.


                                    [A ghter] named Connie McVey.., willing to pick up money any old way .
                                    Saturday Evening Post 8 February 17

                                    Strawberries are sexy. Eat them any old way —moussed, marinated in red
                                    wine..or topped with chocolate.
                                    Gusto! June 38/1
                                                                                             SEN
                                                                                    TER There were eight of
                                    The terrorists were dead, killed by rockets and bombs...
                                                                                     E
                                    them, lying where they'd been thrown,    A v. P
                                                                               any       9
                                                                                   old way ,
                                                                                           . 2025
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                                    C. Birch, Turn again Home xvi. L
                                                                 I   I
                                                                   216 A VO ebruary
                                                     M  I  FAM hived F
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                         U.S. English cicolloquial         8 8 arc
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                                                 24-3
                                                         slang

                                          N o  .


                                                                   : to want no part in something; to turn down a
                       proposition, reject an overture. Later also in more positive sense: to refuse to
                       accept or tolerate something. Usually in continuous tenses. Cf. not to be taking any at
                              v. Phrases P.5e.


                                    Oh! if there's any hocus-pocus to be done, why, I'm not having any .
                                    Chambers's Journal 7 December 776/2

                                    The verdict pronounced by the masses has been: ‘If this is religion..then I am
                                    not having any of it.’
                                    A. Henderson in E. T. Whittaker et al., Man's Place in Creation 35

                                    Hester urges Dimmesdale to go away with her, to a new country, to a new life.
                                    He isn't having any.
                                    D. H. Lawrence, Studies in Classic American Literature vii. 133




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                                    Come on, you! Not having any of this now!
                                    J. Hanley, Our Time is Gone 456

                                    I came in to tell you once and nally what I think of that stu you were telling
                                    me. I won't have any of it.
                                    J. Steinbeck, Burning Bright i. 24

                                    Mammy wasn't having any of that. She said anybody who ‘don't wash their
                                    hand’ is not staying in her house.
                                    J. Buong in N. Payne & J. Buong, Jump-up-and-kiss-me 189

                                    He pointed out to the waitress that she'd charged him incorrectly, but she
                                    wasn't having any of it.
                                    D. Ginsberg, Waiting x. 255




                       not to get any change out of: see                     n. Phrases P.5e.




                       at any cost: see
                                                     3
                                                   n. Phrases P.1a. at any price: see    R    ENat any rate: see
                                                                                          n.SIV.7.
                                                                                      E
                                                                                  ETPhrases      5 by any (manner of)
                         1
                       n. Phrases P.3. by any chance: see            n., A v
                                                                         adj.,.&Padv.   9, 2 02P.1.
                                                                      T
                       means: see
                                             3
                                          n. Phrases P.4.Iin
                                                           L I A    O
                                                               anyVcase: see
                                                                          b r u aryn.11 Phrases P.4b. in any sense: see
                             n. I.7. in any shape I   AM seeived Fn.e1 I.9b.
                                                  orFform:
                                            in M        arch
                                     cited 4-3188
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                                       No.
                       any other business: see            n. Phrases P.25. any chance of: see             n., adj., &
                                                                         2
                       adv. Additions. any gate: see                 n. I.2. to get any: see       v. Phrases P.2f. any port in a
                                               1
                       storm: see           n. I.3c.




                                                      /ni/                       /ni/
                                                          EN-ee                        EN-ee

                                                              Pronunciation keys




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                                                                                                       (instrumental singular neuter),
                                                                               (Kentish, accusative singular masculine)


                                                                                                       (accusative singular masculine),                                   (rare),
                                                                                                         (dative singular masculine),                                 (inected
                                                                               form),                               (inected form, rare),
                                                                               (Northumbrian, rare),                                        (Northumbrian, rare),
                                                                                                        (inected form),                            (inected form,
                                                                               rare),                             (inected form, rare),                      (inected
                                                                               form, rare),                           (Northumbrian, inected form),
                                                                                           (Northumbrian, rare)


                                                                                                       (inected form),                     ,            ,            ,           ,



                                            (in copy of Old English charter)


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                                                                                               ,                      (in copy of Old English charter),
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                                                                               Old English charter),                                    ,                (in copy of Old
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           English
                 h regional
                   re




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                                  (Lincolnshire)


           U.S. regional




           Scottish

                                          ,               ,       ,       ,

                       ;


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           Irish English
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                                                          (accusative singular masculine)


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                                     ;            (U.S. regional)




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           English regional (northern and north midlands)




                   ;                   ,




           Scottish

                                                 ,       ,       ,       ,   ,       ,       ,

                       ;                         ,

                       ;                         ,       ,           ,




           Irish English (northern)
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                                        No
           any is one of the 100 most common words in modern written English. It is similar in frequency
           to words like about, good, know, other, and should.

           It typically occurs about 900 times per million words in modern written English.

           any is in frequency band 7, which contains words occurring between 100 and 1,000 times per
           million words in modern written English. More about OED's frequency bands


              Frequency data is computed programmatically, and should be regarded as an estimate.




                * Oc
                  O
                  Occurrences
                    c         per million words in written English




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                Historical frequency series are derived from Google Books Ngrams (version 2), a data set based on
                the Google Books corpus of several million books printed in English between 1500 and 2010.

                The overall frequency for a given word is calculated by summing frequencies for the main form of
                the word, any plural or inected forms, and any major spelling variations.

                For sets of homographs (distinct entries that share the same word-form, e.g. mole, n.¹, mole, n.²,
                mole, n.³, etc.), we have estimated the frequency of each homograph entry as a fraction of the total
                                                                               E R SEN
                Ngrams frequency for the word-form. This may result in inaccuracies.
                                                                       v  . PET , 2025
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                * Occurrences per million words in written English




                Modern
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                 ode frequency series are derived from a corpus of 20 billion words, covering the period from



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                2017 to the present. The corpus is mainly compiled from online news sources, and covers all major
                varieties of World English.

                Smoothing has been applied to series for lower-frequency words, using a moving-average algorithm.
                This reduces short-term uctuations, which may be produced by variability in the content of the
                corpus.




             Sort by      Date (oldest rst)




               Any kind or kinds of; = any kin, adj.



                                                                                ENfurther.
               Any greater or additional number or amount; anything more; anything
                                                                                 RS
                                                                             T E
                                                                  T A v. PE 9, 2025
               Often with complement. Chiey in negative,
                                                     I L I
                                                               O
                                                                     br  aryor1conditional contexts: a
                                                           A Vinterrogative,
                                                                       u
                                              I   AM itype;
                                                Fwhatever    e    Fe the least…
                                                               d even
                                            M
               (material or immaterial) thing of            v
                                        in          arch
                                cited 4-3188
                                         2
                                  No.
               Not any, no.


               Any kind or kinds of. Cf. any kins, adj.


               As sentence adverb: at any rate, in any case; = anyway, adv. 2a, anyways, adv. 3.


               colloquial. As sentence adverb: = anyway, adv. 2a. Chiey North American in later use.


               Frequently in negative, interrogative, and conditional contexts: = anyone, pron. 1.


               In negative, interrogative, or hypothetical contexts. In continuance of what has taken
               place up to a particular time; any further, any longer. Also…


               Esp.
               Esp
               Esp. with
                    w    reference to a future event: at any point in time; (following a negative) ever.


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               Frequently in negative, interrogative, and conditional contexts: any person or persons at
               all; even a single individual.


               Now the usual sense. As sentence adverb: at any rate, in any case.


               A thing of any kind; = anything, pron. & n.A.I.1. Cf. somewhat, n. A.1.


               To any place. Frequently with go.


               To or towards any place; (formerly also) †in any direction (obsolete).


               From any place.



                                                                                    SEN
               As sentence adverb: at any rate; in any case; = anyway, adv. 2a. Cf. any old how at any, adj.
                                                                          P  E TER 25
                                                                     A v. y 19, 20
               & pron. & n. & adv.phrases P.6c.i.
                                                                 O T
                                                    M  I L IA V ebruar
                                            M    FA (see
                                              I lengths  ch iv ed F n. I.5b).
               Unscrupulous; ready to go
                                       i n any
                                                     ar       length,
                               cited 4-3188
                                       2
                                 No.
               North American colloquial. In or at any place; = anywhere, adv. A.2.


               At any time; ever; = anytime, adv. A.1a. Cf. nowhen, adv.


               As sentence adverb: at any rate, in any case; = anyway, adv. 2a. Also used to end a
               conversation, change topic, or return to a topic after an…


               Any real or ctional place regarded as being typical of or resembling a small American
               town in appearance, values, etc. Cf. anyplace, n.


               A quasiparticle in two-dimensional space whose statistics can take arbitrary values
               between those characterizing bosons and fermions.




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any, adj., pron., n., adv. meanings, etymology and more | Oxford Englis...          https://www.oed.com/dictionary/any_adj?tab=meaning_and_use&tl=tr...
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